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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION
 D’WANNA WILLIAMS,                              }
                                                }
        Plaintiff,                              }
                                                }
 v.                                             }    Case No.: 2:22-CV-00171-RDP
                                                }
 CAS PROPERTY LLC,                              }
                                                }
        Defendant.                              }


                                  ORDER OF DISMISSAL

       In accordance with the parties’ Stipulation of Dismissal with Prejudice (Doc. # 16), filed

May 3, 2022, the court hereby ORDERS that this action shall be, and is, DISMISSED WITH

PREJUDICE. The parties are to bear their own costs, expenses, and attorney’s fees.

       DONE and ORDERED this May 3, 2022.



                                            _________________________________
                                            R. DAVID PROCTOR
                                            UNITED STATES DISTRICT JUDGE
